Case: 4:04-cv-01379-CEJ   Doc. #: 106 Filed: 01/19/06     Page: 1 of 16 PageID #:
                                     2040

                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION


BERNARDINE BERINI,                     )
                                       )
                 Plaintiff,            )
                                       )
           vs.                         )         No. 4:04-CV-1379 CEJ
                                       )
FEDERAL RESERVE BANK OF                )
ST. LOUIS, EIGHTH DISTRICT,            )
                                       )
                 Defendant.            )

                           MEMORANDUM AND ORDER

     This matter is before the Court on the motion of defendant

Federal Reserve Bank of St. Louis for summary judgment, pursuant to

Rule 56 of the Federal Rules of Civil Procedure.                 Plaintiff has

filed a memorandum in opposition, and the matter is fully briefed.

     I. Background

     Plaintiff joined the Federal Reserve Bank of St. Louis in

1969.   During her tenure with the bank, plaintiff moved from check

processing   services     into   an   audit   position,    and   in   1999   she

assisted the management of the bank with a series of measures

designed to make the bank’s operations auditable.                In late 1999,

plaintiff moved into the Control Unit, a new area within the

Financial Management Department.           Plaintiff learned and performed

new tasks associated with her position, but by 2002, her managers

were concerned about deficiencies in her analytical skills and the

number of detail errors she made.          Her year-end performance review

in 2003 reflected a rating of “unacceptable” and warned plaintiff

that if she did not improve, “further action [would] be required.”

On February 18, 2004, plaintiff received a personnel notice stating
Case: 4:04-cv-01379-CEJ     Doc. #: 106 Filed: 01/19/06      Page: 2 of 16 PageID #:
                                       2041

that she had not remedied the problems identified in the year-end

performance review.         On April 1, 2004, managers Holly Harris-

England    and    Cheryl    O’Brien    informed    plaintiff        that   she   was

terminated.      Plaintiff asked for and was given the option to retire

instead.     She was 53 years old when she left the bank.

     Plaintiff      filed    suit,     asserting    claims      under      the   Age

Discrimination      in   Employment    Act   and   §   510     of   the    Employee

Retirement Income Security Act.          An earlier motion to dismiss the

ERISA claim was granted, and defendant now moves for summary

judgment on the remaining ADEA claim.

     II. Discussion

     Rule 56(c) of the Federal Rules of Civil Procedure provides

that summary judgment shall be entered “if the pleadings, deposi-

tions, answers to interrogatories, and admissions on file, together

with the affidavits, if any, show that there is no genuine issue as

to any material fact and that the moving party is entitled to a

judgment as a matter of law.”           In ruling on a motion for summary

judgment the court is required to view the facts in the light most

favorable to the non-moving party and must give that party the

benefit of all reasonable inferences to be drawn from the underly-

ing facts.    AgriStor Leasing v. Farrow, 826 F.2d 732, 734 (8th Cir.

1987).     The moving party bears the burden of showing both the

absence of a genuine issue of material fact and its entitlement to

judgment as a matter of law.          Anderson v. Liberty Lobby, Inc., 477

U.S. 242 (1986); Matsushita Electric Industrial Co. v. Zenith Radio

Corp., 475 U.S. 574, 586-87 (1986); Fed. R. Civ. P. 56(c).                       Once

                                       -2-
Case: 4:04-cv-01379-CEJ    Doc. #: 106 Filed: 01/19/06   Page: 3 of 16 PageID #:
                                      2042

the moving party has met its burden, the non-moving party may not

rest on the allegations of his pleadings but must set forth

specific facts, by affidavit or other evidence, showing that a

genuine issue of material fact exists.              Fed. R. Civ. P. 56(e).

Rule 56(c) “mandates the entry of summary judgment, after adequate

time for discovery and upon motion, against a party who fails to

make a showing sufficient to establish the existence of an element

essential to that party’s case, and on which that party will bear

the burden of proof at trial.” Celotex Corporation v. Catrett, 477

U.S. 317, 322 (1986).

     To survive an employer’s motion for summary judgment, an

individual claiming age discrimination must present direct evidence

of discrimination or create an inference of unlawful discrimination

under the familiar McDonnell Douglas burden-shifting formula1. See

Lee v. Rheem Manufacturing Co., 2005 WL 3534011, at *3 (8th Cir.,

Dec. 28, 2005).      Plaintiff must make a prima facie case of age

discrimination by showing that (1) she is a member of the protected

age group, (2) she was performing her job at a level that met her

employer’s legitimate expectations, (3) she was discharged, and (4)

she was replaced by a younger worker.           Hitt v. Harsco Corp., 356

F.3d 920, 924 (8th Cir. 2004); Ziegler v. Beverly Enterprises-

Minnesota, Inc., 133 F.3d 671, 675 (8th Cir. 1998).              If plaintiff

makes    the   requisite   showing,    then   the   employer    must   produce

evidence of a legitimate, non-discriminatory reason for the adverse



     1
         McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).

                                      -3-
Case: 4:04-cv-01379-CEJ    Doc. #: 106 Filed: 01/19/06   Page: 4 of 16 PageID #:
                                      2043

employment action.        Hitt, 356 F.3d at 924; Reeves v. Sanderson

Plumbing Prod., Inc., 530 U.S. 133 (2000).         If the employer is able

to do so, the plaintiff must then “‘prove by a preponderance of

evidence that the legitimate reasons offered by the defendant were

not its true reasons, but were a pretext for discrimination.’” Id.

at 143, quoting Texas Dept. of Community Affairs v. Burdine, 450

U.S. 248, 253 (1981).      At all times the burden of persuasion rests

with the plaintiff.       Haas v. Kelly Services, Inc., 409 F.3d 1030,

1036 (8th Cir. 2005).

     The Court finds that the plaintiff has satisfied the first,

third and fourth elements of her prima facie case.           The bank argues

that the plaintiff cannot establish that her performance met the

bank’s legitimate expectations at the time of her discharge, and as

proof, offers two years of performance reviews reflecting that

plaintiff’s managers found her performance deficient and that she

failed to make the necessary improvements.          In response, plaintiff

does not contest the existence of the errors described in the

reviews,   but   instead     denies    the   legitimacy      of   the   bank’s

criticisms.

     Between 1999 and 2004, the accounting area in the Financial

Management Department was undergoing a transition from a primarily

clerical department to one that placed increased reliance on the

analytical skills of its employees to provide management with

information about data trends.         The changes were intended to move

the department more in line with industry standards.               Several of

these changes were also mandated by the Board of Governors of the

                                      -4-
Case: 4:04-cv-01379-CEJ            Doc. #: 106 Filed: 01/19/06      Page: 5 of 16 PageID #:
                                              2044

Federal Reserve System, in order to support a more accurate picture

of how bank services were billed out to clients.

        In 1999, plaintiff joined the Financial Management Department

as part of the Control Unit.               At that time, the primary purpose of

the Control           Unit   was    to   perform    a    retrospective      analysis     of

transactions entered into a new computer system that was found to

have        created    out-of-balance       conditions        in   the   bank’s   general

ledger.

        During 2000, plaintiff’s responsibilities included a review of

these transactions in order to determine where mistakes had been

made.       She also completed data security reviews and began learning

about a new methodology implemented by the Federal Reserve Board of

Governors in 1999, called AIDE.2                At the end of the year, plaintiff

received       a   summary     review      rating       of    “strong,”3   and    she   was

recommended for promotion to grade level 13 by her immediate

supervisor, Holly Harris-England. Ms. Harris-England’s suggestions

for improvements included comments on the tone of plaintiff’s

written communications, and a caution that she “sometimes focuses

too narrowly on the details and does not fully consider the broader

impact of each action she recommends.”                       Def.’s Mot. for Summ. J.,

Ex. D at 5. Despite the promotion recommendation, Ms. Harris-

England was later told by the vice-president in charge of the


        2
       AIDE stands for “Accountability, Integrity, Decision-
making, and Efficiency.”
        3
       The possible ratings ranged from a low “unacceptable”
through “needs improvement,” “competent,” “strong,” and “role
model.”

                                             -5-
Case: 4:04-cv-01379-CEJ   Doc. #: 106 Filed: 01/19/06   Page: 6 of 16 PageID #:
                                     2045

Financial Management Department, Marilyn Corona, that plaintiff had

not demonstrated the ability to perform at grade level 13, and thus

was not eligible for promotion.4

      In 2001, a substantial portion of plaintiff’s work involved

the interpretation of guidelines for the Federal Reserve’s Planning

and Control System (PACS).           PACS was the method by which the

Federal Reserve System ensured that it had accurate information

about the services it provided to clients, and was based on the

time and costs incurred by departments that provided support

services.    The new AIDE methodology required that employees create

Department Distribution Tables (“DDT’s”) which reflected the amount

of time that each department spent in support of the various

activities described in the PACS manual.

      Plaintiff’s   responsibilities       during   2001   also   involved    a

system called GEARS, which documented information about the cost of

services provided to the United States Government.                Plaintiff’s

unit was responsible for identifying any variances between actual

and   budgeted   expenses,     and    writing   explanations      for    those

variances.

      Plaintiff’s immediate supervisor in 2001 was Scott Trilling,

who gave her a summary evaluation of “competent” at the end of the



      4
       Plaintiff mentions Ms. Corona’s refusal to promote her as
evidence of discrimination, but she has not claimed it as a
separately actionable adverse employment decision. Even if she
had specifically done so, it does not appear from the record that
this failure to promote claim has been administratively exhausted
before being raised here, and so the Court will consider
plaintiff’s termination as the only relevant adverse action.

                                     -6-
Case: 4:04-cv-01379-CEJ   Doc. #: 106 Filed: 01/19/06   Page: 7 of 16 PageID #:
                                     2046

year. Communication was again noted as an area for improvement, as

well as “improving upon her adaptability to any organizational

change.”   Def.’s Mot. for Summ. J., Ex. E at 33.

     During 2002, plaintiff continued to have responsibility for

data security, GEARS, and the support tables associated with AIDE;

towards the end of the year, she was assigned to work on PACS

compliance and input vendor information into a computer system.

She was also assigned the task of writing descriptions of the

procedures that other departments could use to help them comply

with the accounting procedures required by PACS.           Defendant argues

that plaintiff’s job performance began to decline in 2002 as she

struggled to become proficient in the analysis required by the new

accounting methodologies.

     Throughout the year during status reviews and in the year-end

performance reviews, plaintiff’s managers documented deficiencies

in   her   job   performance.      Among    the   deficiencies      was    that

plaintiff’s written work contained a number of errors.                    These

included spelling and grammatical mistakes as well as a more

substantive failure to comply with her manager’s objectives for an

expenditure training presentation. In an evaluation dated December

12, 2002, Ms. Harris-England wrote:        “Bernie’s attention to detail

in her written assignments of sizable length, such as procedures,

has been severely lacking. . . . [They] required multiple, in-depth

reviews and revisions by management before the documents were

considered acceptable.”      Def.’s Mot. for Summ. J., Ex. F at 34.




                                    -7-
Case: 4:04-cv-01379-CEJ     Doc. #: 106 Filed: 01/19/06         Page: 8 of 16 PageID #:
                                       2047

      These detail errors were not confined to written reports.                       A

spreadsheet completed by plaintiff was sent to several governmental

agencies, but had to be resubmitted because of the inclusion of

cost data in the wrong columns.              Even though the worksheet was

revised and resubmitted, “the errors gave an impression of a lack

of professionalism and care.”          Def.’s Mot. for Summ. J., Ex. F at

36.

      Ms.   Harris-England     expressed      a    second,       more    substantive,

concern in her 2002 year-end performance review of plaintiff:

      Bernie’s job knowledge appears to deteriorate in the
      areas of cost analysis and the application of PACS
      methodologies in analytical contexts. . . . [Her] detail
      mindedness,   while   a  positive   trait,   can   become
      detrimental if the analyst gets mired down in the details
      and loses the ability to define what the details explain
      at a broader level. . . . The ability of an analyst to
      perform complex, unique analysis of data is critical to
      the success of Expense Oversight.

Def.’s Mot. for Summ. J., Ex. F, at 30.                   These complex analyses

required    by   the     department    during      the    latter       part    of   2002

necessitated     close    attention    to    the    changing          PACS   guidelines

established by the Board, for which there were no explicit step-by-

step instructions for implementing.

      Finally, with regard to plaintiff’s responsibility for GEARS

during 2002, plaintiff demonstrated additional difficulty with

analytical tasks: “Once the GEARS spreadsheets are completed,

analysts must identify any variances and explain the cause of the

variances    appropriately      to    management         and   various       government

agencies.    .   .   .   [Plaintiff]    appears          to    have    difficulty    in

performing more broad-based data analysis such as why an activity

                                       -8-
Case: 4:04-cv-01379-CEJ    Doc. #: 106 Filed: 01/19/06     Page: 9 of 16 PageID #:
                                      2048

experiences    significant    shifts    in     costs    from     month-to-month.”

Def.’s Mot. for Summ. J., Ex. F at 37.                 Although plaintiff had

successfully worked with PACS accounts before, Ms. Harris-England

noted that plaintiff did not seem to be able to apply that

knowledge in a different, more analytic, context.

     Plaintiff’s performance review culminated in a rating of

“needs improvement,” and cautioned that plaintiff must immediately

show improvement in her analytical skills and a reduction in the

errors in her written work.

     In 2003, plaintiff’s performance continued to attract the

criticism of her managers.          Although she decreased the number of

spelling and grammatical errors in her written work, she continued

to overlook mistakes on her spreadsheets.                In a mid-year status

review, plaintiff was again warned that her analytical skills had

not improved to the expected level because she was still unable to

independently and adequately review department distribution tables

and continued to have trouble completing variance explanations for

the department’s budget code. These concerns were still evident on

the year-end review, and plaintiff received a summary rating of

“unacceptable.”      She    was   warned     that    “improvement      should    be

achieved and     maintained    by    3/31/04    or     further    action   may   be

required.”    Def.’s Mot. for Summ. J., Ex. I at 9.

     Defendant argues that in light of these reviews, the plaintiff

cannot demonstrate that her performance was adequate. In part,

Berini argues that she did meet the performance expectations of her

employer.     She points to the fact that she was given a retention

                                      -9-
Case: 4:04-cv-01379-CEJ     Doc. #: 106     Filed: 01/19/06      Page: 10 of 16 PageID #:
                                          2049

incentive for the period between August of 1999 and January 1,

2001, and monetary awards through the “Performance Plus” program,

including one in December 2003.                 She also emphasizes her long

tenure at the bank and the positive evaluations, promotions and

raises    that    she    received   during        the    majority      of     that   time.

However, in evaluating whether an employee’s job performance is

satisfactory, the relevant inquiry is whether the employee was

meeting expectations at the time of termination.                         See Miller v.

Citizens Security Group, Inc., 116 F.3d 343, 346 (8th Cir. 1997).

The performance reviews received by the plaintiff during her final

three years at the bank show that the plaintiff’s managers felt

that she was making an unacceptable number of errors, that she had

not managed to learn the skills required by the new accounting

methodologies, and that she was made aware of these shortcomings.

      The retention agreement between the bank and plaintiff does

not constitute a contradiction.              The evidence shows that the bank

wanted    to   retain     plaintiff’s       experience        during     a    period    of

transition for the bank when such continuity would be beneficial.

The   agreement    terminated       before     management        began       to   document

plaintiff’s      performance     problems,         and    does     not      reflect    any

evaluation of plaintiff’s performance in the tasks she was assigned

during 2002 and 2003.          In any event, the agreement is too far

removed    from    the    termination        to    be    relevant        in       assessing

plaintiff’s job performance. See Miller, 116 F.3d at 346 (deciding

that an evaluation that occurred fifteen months prior to the

plaintiff’s termination was too remote to be relevant).

                                       -10-
Case: 4:04-cv-01379-CEJ        Doc. #: 106     Filed: 01/19/06   Page: 11 of 16 PageID #:
                                             2050

          Isolated non-review feedback, such as the $300 Performance

Plus award received by plaintiff in December of 2003, does not

indicate that her overall job performance was satisfactory.                            The

Performance Plus program was a pool of money available to managers

to       reward    completion    of   certain       tasks.       Ms.    Harris-England

testified that plaintiff received the award “because we had to do

.    .    .   a   lot   of   additional      work   which    required       us   to   spend

additional time that normally would not have been done in a good

situation.” Harris-England Dep. at 64.                   There is no evidence that

the       award     reflected    a    positive       assessment        of    plaintiff’s

competencies at the time; on the contrary, the plaintiff had been

given a roughly contemporaneous performance review highlighting a

number of performance problem areas.

          Plaintiff does not dispute that she made daily errors which

were brought to her attention by the plaintiff’s manager.                                In

response to the characterization of her performance as inadequate,

the plaintiff attacks the legitimacy of her managers’ criteria.

She argues that (1) she was subject to excessive scrutiny, (2) her

mistakes caused no financial damage to the bank, either because

they were inconsequential or were caught and corrected by her

managers before they had effect, (3) she had an excessive workload,

and (4) she was not given adequate training.

          Plaintiff offers no evidence that she was subject to more

scrutiny than any other employee, beyond noting that she did not

see her manager publicly discuss mistakes with other employees as

often as she felt was done with her.                Plaintiff’s second contention

                                          -11-
Case: 4:04-cv-01379-CEJ   Doc. #: 106     Filed: 01/19/06   Page: 12 of 16 PageID #:
                                        2051

seems to suggest financial impact as the only legitimate job

performance criterion.       Even aside from the fact that “[f]ederal

courts do not sit as a super-personnel department that reexamines

an entity’s business decisions,”            Harvey v. Anheuser-Busch, Inc.,

38 F.3d 968, 973 (8th Cir. 1994) (citations and internal quotations

omitted), it is entirely reasonable that plaintiff’s work should be

competent, whether or not her mistakes had a direct impact on the

bank’s finances. Additionally, the bank’s management has the right

to define the requirements of the job.               See Cramer v. McDonnell

Douglas Corp., 120 F.3d 874 (8th Cir. 1997), citing Hutson v.

McDonnell Douglas Corp., 63 F.3d 771, 780 (8th Cir. 1995) (“The

fact that [the employer] chose to place special emphasis on certain

areas    of   job   performance    does       not   constitute      grounds     for

challenging the evaluation as discriminatory.”).                  Third, although

plaintiff claims that the absence of a co-worker resulted in an

excessive workload for her, plaintiff’s performance did not improve

when    the   co-worker   returned,       well   before     the    plaintiff    was

terminated.      Finally, plaintiff does not show that any other

similarly-situated employee was given more or different training.

       The Court is skeptical that the plaintiff has carried her

burden of establishing a prima facie case here, because she fails

to present any evidence that would create an issue of material fact

as to her competency.      The defendant is entitled to value certain

skills more than others, and plaintiff had adequate notice of the

evolving expectations for the increasingly analytical position she

held. There is no evidence that the bank changed the parameters of

                                    -12-
Case: 4:04-cv-01379-CEJ      Doc. #: 106     Filed: 01/19/06    Page: 13 of 16 PageID #:
                                           2052

plaintiff’s    job     illegitimately;           on    the     contrary,      there    is

uncontroverted testimony that modern accounting practices demanded

a more professional staff and the bank was keeping pace with that

trend.    Plaintiff failed to master the skills required by the

position that she held - skills which other employees were able to

demonstrate in a shorter period of time.

       Assuming, arguendo, that plaintiff has established a prima

facie case of age discrimination, the analysis proceeds to the

remaining stages of the McDonnell Douglas test.                       As demonstrated

above,   the   bank    has    offered       a   legitimate,         non-discriminatory

explanation for plaintiff’s termination by showing that her job

performance was inadequate.           The plaintiff now has the burden of

showing that the reason articulated by the defendant is mere

pretext for age discrimination.                 Stuart v. General Motors Corp.,

217 F.3d 621, 634 (8th Cir. 2000).

       Plaintiff’s attempt at demonstrating pretext relies on the

same   arguments     she    makes   in      trying     to    show    that   the   bank’s

expectations    were       illegitimate.          Critically         absent   from    her

argument, however, is any connection between her age and her

termination.    Her main complaint is that other people in the bank

(specifically, her managers) were responsible for more serious

mistakes, yet were not terminated.                    However, plaintiff has not

presented any evidence that these people were either similarly-

situated to her or treated more favorably because of their age.

EEOC v. Kohler Co., 535 F.3d 766 (8th Cir. 2003) (“Specifically,

the individuals used for comparison must have dealt with the same

                                         -13-
Case: 4:04-cv-01379-CEJ      Doc. #: 106     Filed: 01/19/06     Page: 14 of 16 PageID #:
                                           2053

supervisor, have been subject to the same standards, and engaged in

the    same    conduct      without   any        mitigating      or    distinguishing

circumstances.”).           As    such,     plaintiff’s        contentions     are   not

adequate to show pretext.           See Stuart, 217 F.3d at 634 (plaintiff

must show that discrimination was the real reason for the adverse

employment action).

       Plaintiff next attempts to demonstrate that these performance

reviews were pretextual by showing that her managers harbored

biases against older employees.               The sum total of her evidence of

bias boils down to this: “A comment about her adjusting to change

in a performance review was age stereotypical; the comment of her

Manager that ‘it’s hell to get old’; her Manager’s statement, ‘Why

don’t you just retire?’ are all evidence of age discrimination.”

Pl.’s Mot. in Opp. to Summ. J. at 20.                          The Court disagrees.

Isolated inquires into plaintiff’s retirement plans which do not

rise    to    the   level    of    harassment       are   not      evidence     of   age

discrimination.      See, e.g., Montgomery v. John Deere, 169 F.3d 556

(8th Cir. 1999) (an employer may make reasonable inquires into the

retirement plans of its employees).               Nor is a single comment about

growing older, made in response to plaintiff’s own complaints about

her physical condition, evidence of age discrimination.                      Plaintiff

states that it reveals the speaker’s “age consciousness,” but what

it does not do is reveal any discriminatory motive.                         Thomure v.

Phillips Furniture Co., 30 F.3d 1020, 1024-25 (8th Cir. 1994);

Zhuang v. Datacard Corp., 414 F.3d 849, 855 (8th Cir. 2005) (stray




                                          -14-
Case: 4:04-cv-01379-CEJ          Doc. #: 106     Filed: 01/19/06     Page: 15 of 16 PageID #:
                                               2054

comments         about     age    are    not       enough      to    prove     intentional

discrimination).

       Furthermore,          plaintiff         asserts        that    the    “subjective”

evaluations by her manager were based on age stereotyping, and thus

evidence of a prohibited motive.                   She points to a single instance

where Ms. Harris-England stated that plaintiff’s analytical skills

had deteriorated5, and argues that this demonstrates a belief that

“older individuals tend to lose their powers of raciocination

[sic].”          Where the word “deteriorates” appears in plaintiff’s

reviews, the context does not bear the significant weight that

plaintiff wishes to place upon it.

       Plaintiff         also     argues       that     her    employer      has    offered

contradictory or inconsistent explanations for its decision to

terminate        her     employment,     which        would   allow    an    inference    of

pretext. She claims that a comment made at her termination, to the

effect that she was “not a good fit” is at odds with the reason

ultimately given for her termination. Also, she points to the fact

that       she    was    praised     for       being    “detail-oriented”          in   some

performance reviews, while that skill was deemed lacking in later

reviews.

       Plaintiff relies on Kim v. Nash Finch Co., 123 F.3d 1046 (8th

Cir. 1997) and Young v. Warner-Jenkinson Co., Inc., 152 F.3d 1018,

1021 (8th Cir. 1998).             These cases involved defendants who stated


       5
        The actual quote, from the 2002 year-end performance
review, is “Bernie’s job knowledge appears to deteriorate in the
areas of cost analysis and the application of PACS methodologies
in analytical contexts.” Def.’s Mot. for Summ. J., Ex. F at 30.

                                           -15-
Case: 4:04-cv-01379-CEJ    Doc. #: 106     Filed: 01/19/06    Page: 16 of 16 PageID #:
                                         2055

one reason for an adverse action at the time of that action, but

claimed different justifications later, during litigation.                    As the

holdings in those cases demonstrate, such behavior can support an

inference   of   pretext.         However,     in    this    case   the    bank    has

consistently maintained that the plaintiff was dismissed for poor

job   performance.        Minor   differences        in    the   phrasing     of   the

explanations does not compel the conclusion that the employer’s

explanation was pretextual.          As for the supposed inconsistencies

within   plaintiff’s       evaluations,        the       evidence   clearly    shows

legitimate criticisms of plaintiff’s performance on varied tasks.

Plaintiff does not dispute that she understood the negative and

positive comments about her performance at the time of the reviews.

      In sum, there is absolutely no evidence of any age-based

discriminatory    motive     on    the     part     of    plaintiff’s     employers.

Consequently, the Court concludes that the plaintiff has failed to

meet her burden of establishing that the defendant’s stated reason

for her termination was pretextual.

      Accordingly,

      IT IS HEREBY ORDERED that the defendant’s motion for summary

judgment [#51] is granted.

      IT IS FURTHER ORDERED that all other pending motions are

denied as moot.


                                              CAROL E. JACKSON
                                              UNITED STATES DISTRICT JUDGE


Dated this 19th day of January, 2006.


                                     - 16 -
